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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS
___________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )          Criminal Action
v.                                  )          No. 20-10263-PBS
                                    )
JIM BAUGH and DAVID HARVILLE,       )
                                    )
                     Defendants.    )
______________________________      )

                            MEMORANDUM AND ORDER

                                March 02, 2022
Saris, D.J.

                                 INTRODUCTION

      Defendants Jim Baugh and David Harville, two former senior

employees at eBay, have been indicted on multiple charges arising

from their alleged roles in an interstate campaign to harass and

intimidate two Massachusetts residents and the ensuing cover up.

They have been charged in a fifteen-count indictment. As relevant

here,1     Baugh   has   been   charged     with   witness   tampering     under

18 U.S.C. § 1512(b)(3) as to a Natick detective (Count 10) and an

eBay investigator (Count 11) and with destruction, alteration, or

falsification of records under 18 U.S.C. § 1519 (Count 13) by

falsifying “Bay Area POIs_August 2019.docx.” And as relevant here,

Harville has been charged with witness tampering under 18 U.S.C.

§ 1512(b)(3) as to an eBay investigator (Count 12) and with the



1 Defendants have launched a multi-pronged attack on the indictment which will
be addressed in other opinions.

                                      [1]
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destruction, alteration, and falsification of records in a federal

investigation under 18 U.S.C. § 1519 by destroying the contents of

his eBay-issued cell phone (Count 15).

      After   hearing,    the   Court   DENIES    Defendants’    motions   to

dismiss their indictments (Dkt. 114 and 116).

                            FACTUAL BACKGROUND

      The indictment alleges the following facts.

      Baugh was the Senior Director of Safety and Security at eBay,

and Harville was the Director of Global Resiliency. In 2019, eBay’s

senior   leadership    became   aware   of   an   online   newsletter    (the

“Newsletter”) that it perceived as a threat to eBay’s image. From

August 5, 2019 through September 6, 2019, Baugh, Harville, and

five other eBay employees2 began harassing Victim 1 and Victim 2,

a married couple living in Natick, Massachusetts who disseminated

the Newsletter. Their goals were to distract the Victims from

publishing the Newsletter, to change how the Victims covered eBay

in the Newsletter, and to gather information to discredit the

Victims.

      The intimidation began with a series of online messages and

home deliveries. On August 6, 2019, Popp created a Twitter profile



2 The five employees were Stephanie Popp, eBay’s Senior Manager of Global
Intelligence; Stephanie Stockwell, the manager of eBay’s Global Intelligence
Center (“GIC”); Veronica Zea, an eBay contractor who worked as an intelligence
analyst in the GIC; Brian Gilbert, a Senior Manager of Special Operations for
eBay’s Global Security Team; and Philip Cooke, a supervisor of security
operations for eBay’s Global Security Team.

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named “@Tue_Elei” with a skeleton mask as its avatar. Popp used

the account to send a direct message to Victim 1’s Twitter account,

depicting @Tue_Elei as an angry eBay user who wrote, “whats your

problem w/ebay? You know that’s how we pay rent.” Dkt. 33 at ¶ 16e.

When Victim 1 did not respond, Popp used the @Tue_Elei account to

send her a series of obscene messages on August 9, 2019 that

included, “I guess im goin to have to get ur attention another way

bitch . . .” Id. at ¶ 16g. The conspirators then began sending

harassing deliveries to the Victims’ home on August 9–10, 2019,

including live spiders, fly larvae, and a Halloween pig mask. They

also purchased subscriptions for pornographic magazines in Victim

2’s name and had them delivered to the Victims’ neighbors. On

August 10, 2019, Victim 1 received a direct Twitter message from

the @Tue_Elei account saying, “DO I HAVE UR ATTENION NOW????” Id.

at ¶ 16l.

     On August 11, 2019, Baugh directed Harville to travel with

him to Boston for an “op” targeting the Victims, writing to

Harville that “I won’t send the bosses texts, but I’ve been ordered

to find and destroy.” Id. at ¶¶ 16n–o. Harville replied, “Copy.

Totally black[.] I’m deleting this now.” Id. at ¶ 16o. Before

traveling to Boston, on August 12, 2019, Baugh directed his co-

conspirators to increase the harassing deliveries and messages.

From August 12-14, the group sent the Victims a book about grieving

the loss of a spouse, a funeral wreath, and live cockroaches. The

                                  [3]
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@Tue_Elei account posted angry public messages to Victim 1’s

Twitter account, including “UR stupid idkiot comments r pushin

buyers away from ebay and hurtin families!!! STOP IT NOW!!” and

“[name   of   Victim   1]   wen   u    hurt   our   bizness   u   hurt   our

familys . . . Ppl will do ANYTHING 2 protect family!!!!” Id. at

¶¶ 16s–v.

     On August 14, 2019, Baugh, Harville, Zea, Gilbert, and Popp

met to plan the trip to Boston to surveil the Victims and install

a GPS tracking device on their car. Baugh ordered the deliveries

to stop to prevent interference with the operation. On August 15,

2019, Baugh, Harville, and Zea flew to Boston. That same day,

Harville visited a website that could be used to monitor the Natick

Police Department’s (“NPD”) live audio feed. Baugh, Harville,

Popp, and Zea dialed into a conference call to communicate with

each other and to monitor the NPD dispatch. Meanwhile, Baugh

directed Stockwell to prepare a “Person of Interest” report (“POI

Report”) falsely listing the Victims as eBay’s top persons of

interest and told Stockwell, “In the narrative I need you to write

that they have made direct threats to ebay, [eBay’s CEO], and our

employees (make it up.)” Id. at ¶ 16dd.

     Baugh, Harville, and Zea drove to the Victims’ home, but were

unable to install the GPS device because the Victims’ car was

locked in their garage. On August 16, 2019, Harville purchased



                                      [4]
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tools for the purpose of breaking into the Victims’ garage.3 Baugh,

Harville, and Zea continued their surveillance and followed in a

rental car as Victim 2 drove around Natick, stopping when they

came to believe he had spotted them. Baugh returned the rental

car.

       Baugh then directed that the harassing deliveries resume. On

August 17, 2019, the conspirators ordered a pizza to be delivered

to the Victims’ home at 4:30am for payment upon delivery. The

@Tue_Elei   account    posted   Victim    1’s   name,   age,   address,   and

telephone number publicly and continued sending threatening and

obscene messages taking credit for the deliveries. Some of the

conspirators also posted an advertisement on Craigslist claiming

to be a married couple seeking sexual partners at the Victims’

home address. Later, on August 17, 2019, Harville returned to

California and was replaced in Boston by Popp.

       On August 18, 2019, Victim 2 was able to take a picture of

the surveillance team’s license plate as Baugh, Popp, and Zea

followed him around Natick. The conspirators began taking steps to

cover their tracks. Baugh forwarded Gilbert the POI Report and

wrote in a WhatsApp message, “Just sent poi doc with [Victims]

included. I had GIC send this to me last week in case we got

stopped...that way would at least have something to show to PD.”



3 The indictment does not allege that Harville or anyone else ever broke into
the Victims’ garage.

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Id. at ¶ 16ss. Baugh and Zea lied to an NPD detective who came to

their hotel and attempted to call Zea; as Baugh described the

encounter in a text message, “Detective called her cell. I answered

just now as her husband and played dumb.” Id. at ¶ 16ww. The

conspirators also began compiling dossiers on the Victims that

they could give to the NPD to make the Victims “look crazy.” Id.

at ¶ 16xx. On August 21, 2019, to confuse an NPD investigation

into the use of a prepaid debit card to purchase the pizzas that

had been delivered to the Victims, Baugh and Popp instructed

Stockwell to create another list of eBay “persons of interest” in

the San Francisco area to deflect attention from Zea, who had

purchased the card. Baugh and Popp forwarded the document Stockwell

created, named “Bay Area POIs_August 2019.docx” to Gilbert for use

in a meeting with the NPD.

     On August 22, 2019, Gilbert met with NPD officers and falsely

told them that Zea and Harville had come to Boston to attend a

conference, that Popp was Zea’s supervisor, and that Zea had driven

to Natick on her own to conduct a Person of Interest investigation

regarding the victims. Harville and Baugh each also told similar

falsehoods   to   eBay’s   internal   investigators.   For   example,   on

August 23, 2019, Harville told them that he had travelled to Boston

to attend a conference, that he had not gone to Natick, and that

he had not interacted with the Victims or the NPD. That same day,

Baugh told eBay’s internal investigators that his team was not

                                  [6]
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responsible for the messages and deliveries and that they had gone

to Natick to investigate the threats against the Victims. On August

26, 2019, Harville falsely told eBay investigators that he did not

know whether Zea had gone to Natick and that he had not worked on

a matter involving the Victims. Beginning on August 26, 2019,

Baugh, Harville, and others deleted and attempted to delete data

from their mobile phones that contained evidence of their alleged

wrongdoing, including WhatsApp messages. On August 30, 2019, after

receiving an email from an eBay investigator directing him to

preserve relevant information and to turn in his eBay-issued cell

phone, Harville messaged Baugh, asking, “Want me wipe it[?]” Id.

at ¶ 16ppp. That day, Harville turned in his eBay-issued phone,

from which significant data related to his trip to Natick had been

deleted.

                            LEGAL STANDARD

     A defendant may move to dismiss an indictment for lack of

specificity, see Fed. R. Crim. P. 12(b)(3)(B)(iii), or for failure

to state an offense, see Fed R. Crim. P. 12(b)(3)(B)(v), among

other defects.   An indictment “must be a plain, concise, and

definite written statement of the essential facts constituting the

offense charged.” Fed. R. Crim. P. 7(c)(1). “An indictment need

not say much to satisfy these requirements—it need only outline

‘the elements of the crime and the nature of the charge so that

the defendant can prepare a defense and plead double jeopardy in

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any future prosecution for the same offense.” United States v.

Stepanets, 879 F.3d 367, 372 (1st Cir. 2018) (quoting United States

v. Guerrier, 669 F.3d 1, 3 (1st Cir. 2011)). “In other words, the

indictment may use the statutory language to describe the offense,

but it must also be accompanied by such a statement of facts and

circumstances as to inform the accused of the specific offense

with which he is charged.” United States v. Savarese, 686 F.3d 1,

6 (1st Cir. 2012).

     “[C]ourts   must   not   inquire   into   the   sufficiency   of   the

evidence underlying the indictment—for when ‘a defendant seeks

dismissal of the indictment, the question is not whether the

government has presented enough evidence to support the charge,

but solely whether the allegations in the indictment are sufficient

to apprise the defendant of the charged offense.’” Stepanets, 879

F.3d at 372 (quoting Savarese, 686 F.3d at 7); see also Guerrier,

669 F.3d at 4 (noting that courts “routinely rebuff efforts to use

a motion to dismiss as a way to test the sufficiency of the evidence

behind an indictment’s allegations”). Put another way, “[a]t the

indictment stage, the government need not ‘show,’ but merely must

allege, the required elements” and the allegations “are assumed to

be true.” United States v. Stewart, 744 F.3d 17, 21 (1st Cir.

2014). And “[t]he government need not recite all of its evidence

in the indictment.” United States v. Innamorati, 996 F.2d 456, 477

(1st Cir. 1993).

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                                  DISCUSSION

  I.      Baugh’s Motion to Dismiss The Witness Tampering Charge

       The indictment charges Baugh with federal witness tampering

in violation of 18 U.S.C. § 1512(b)(3) by engaging in misleading

conduct toward a Natick Police Department Detective (Count 10) and

an eBay investigator (Count 11). Baugh argues that these counts

should be dismissed because the indictment only alleges that Baugh

lied to the Natick Detective and an eBay investigator, and fails

to allege a federal criminal investigation was underway or likely

to occur, or that that Baugh intended to prevent any communications

to federal law enforcement officers. These arguments are without

merit.

       The witness tampering statute proscribes “knowingly . . .

engag[ing]      in   misleading   conduct    toward    another     person,    with

intent to . . . hinder, delay, or prevent the communication to a

law    enforcement     officer    or   judge    of    the   Unites   States     of

information relating to the commission or possible commission of

a Federal offense.” 18 U.S.C. § 1512(b)(3). The term “misleading

conduct”       means   “knowingly      making    a    false      statement”     or

“intentionally omitting information from a statement and thereby

causing    a    portion   of   such    statement      to    be   misleading,    or

intentionally concealing a material fact, and thereby creating a




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false impression by such statement.” 18 U.S.C. § 1515(a)(3)(A)–

(B).

        The indictment alleges that on August 21, 2019, Baugh “made

false statements to an NPD detective who came to the surveillance

team’s hotel to investigate Zea and HARVILLE’s connection to the

cyberstalking campaign,” Dkt. 33 at ¶ 16vv. He explained to his

co-conspirators in a text message, “Natick detective is in lobby

looking for [Zea]. I’ve taken her away from hotel headed to

airport...Detective called her cell. I answered just now as her

husband and played dumb.” Id. at ¶ 16ww. On August 23, 2019, Baugh

“told eBay investigators his team was not responsible for harassing

messages or deliveries and that his team had been in Natick to

investigate threats to the Victims.” Id. at ¶ 16jjj; see also id.

at ¶ 16nnn. Tracking the statutory elements of the offence, the

indictment alleges that these falsehoods were told “with intent to

hinder, delay, and prevent the communication to a law enforcement

officer of the United States of information relating to the

commission and possible commission of a Federal offense, that is,

the conspiracy described in Count One of this Indictment.” Id. at

¶ 28.

        Defendant’s first argument is that “‘[t]ampering’ with a

witness to keep him or her from talking is not the same as trying

to spread misinformation or falsehoods through the witness.” Dkt.

115 at 14. This argument is easily dispatched. As the government

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points out, although silencing a witness is one way to violate

§ 1512, it is not the only way to engage in witness tampering.

Section     1512(b)(3)      includes      misleading       state    or   private

investigators by not telling them the true circumstances to prevent

them from learning the actual facts and, thereby, precluding their

communicating those facts to federal officers. See United States

v. Veal, 153 F.3d 1233, 1245 (11th Cir. 1998), overruled on other

grounds by United States v. Chafin, 808 F.3d 1263, 1273 (11th Cir.

2015); see also United States v. Hawkins, 185 F. Supp. 3d 114, 125

(D.D.C. 2016) (“In providing this false information . . . Defendant

clearly     intended   to      ‘prevent,’      ‘hinder,’    and    ‘delay’     the

communication of the truthful information he had on these topics.”)

(emphasis    added).     The    First     Circuit   found     a    violation    of

§ 1512(b)(3) when two jail guards fabricated an incident report

and made false statements to investigators from the Sheriff’s

Department, and the report by the investigators, “containing the

false statements, was subsequently obtained by the FBI.” United

States v. Bailey, 405 F.3d 102, 107 (1st Cir. 2005).

     Next, Baugh argues that the indictment fails to allege a

reasonable likelihood that a federal investigation would occur,

and thus fails to allege an intent to hinder communication to “a

law enforcement officer . . . of the United States.” The Government

responds that the indictment need not allege that communications

to law enforcement were reasonably likely.

                                        [11]
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     The dispute is governed by Fowler v. United States, 563 U.S.

668 (2011) (addressing an analogous provision in the witness

tampering statute, § 1512(g)(2)). See United States v. Johnson,

874 F.3d 1078, 1082 (9th Cir. 2017) (“Fowler’s standard applies to

the federal nexus requirement of § 1512(b)(3).”).            Fowler held

that § 1512 can cover a defendant who tampers with a witness “with

the intent to prevent communication with law enforcement officers

generally (i.e., with any and all law enforcement officers).” 563

U.S. at 673. The Supreme Court explained that where the defendant

does not have particular law enforcement officers in mind, the

Government must show a “reasonable likelihood” that “at least one

relevant communication would have been made to a federal law

enforcement officer.” Id. at 677. The Government must show that

“the likelihood of communication to a federal officer was more

than remote, outlandish, or simply hypothetical.” Id. at 678. But

Section 1512(b)(3) does not require an existing or imminent federal

investigation at the time of the defendant’s misleading conduct.

See Bailey, 405 F. 3d at 109.

     District courts seem to agree that the Supreme Court did not

add a new element to § 1512, but they disagree on whether the

indictment   must   specifically   allege    reasonable   likelihood    of

communication to a federal law enforcement officer. Compare United

States v. Hamilton, no.15-0240, 2016 WL 1696136, at *4 (N.D. Ga.

Apr. 28, 2016) (“Fowler did not introduce any new elements for a

                                   [12]
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conviction under § 1512. . . . While [Defendant] may be able to

argue that Fowler’s construction of § 1512 should be explained to

the jury, this construction does not undermine the fact that all

of the necessary elements of § 1512 are already present in the

indictment.”) with United States v. Ortiz, no.15-00594, 2016 WL

4239370, at *8 (N.D. Cal. Aug. 11, 2016) (acknowledging that the

Supreme   Court   did    not   create       a    new    element     of   the   federal

obstruction statute, but holding “[n]evertheless, the reasonable

likelihood   that      there   would   be       communication       to   federal   law

enforcement is an essential fact that must be in an indictment.”)

      In my view, because Fowler did not add a new statutory element

but instead explained what the Government must “show” to prove

that a defendant intended to prevent communications to a federal

officer when a defendant has an intent to interfere with federal

officers generally, the indictment need not allege a “reasonable

likelihood” to pass muster.

      Even if there were such a requirement to specifically allege

reasonable    likelihood,       the    government         points     out   that    the

indictment states the relevant factual background, connected to

the   element,    to    show   a   reasonable          likelihood    of    a   federal

investigation. See Dkt. 33 at ¶ 13 (“BAUGH, HARVILLE and their

coconspirators took steps to conceal their harassment campaign

from eBay investigators and state and federal authorities by, among

other things, monitoring law enforcement communications, forging

                                       [13]
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records,    lying    to   investigators,           and   destroying   evidence.”)

(emphasis added). This is enough to put the defendants on notice

of the charge that a federal investigation was reasonably likely,

that is “more than remote, outlandish, or simply hypothetical.”

Fowler, 563 U.S. at 678. Again, the indictment need not recite all

the evidence, just apprise the Defendants of the charged conduct,

which this indictment does. See Innamorati, 996 F.2d at 477.

  II.     Baugh’s Motion to Dismiss the Falsification Charge

     Baugh also moves to dismiss Count 13, which alleges that he

falsified documents. The statute governing this count punishes

anyone who:

     knowingly alters, destroys, mutilates, conceals, covers
     up, falsifies, or makes a false entry in any record,
     document or tangible object with the intent to impede,
     obstruct, or influence the investigation of or proper
     administration of any matter within the jurisdiction of
     any department, or agency of the United States, . . . ,
     or in relation to or contemplation of any such matter or
     case.

18 U.S.C. § 1519.

     Baugh     argues       that       the    indictment      does    not   allege

“falsification” because it merely alleges that he created a true

document with the intent to mislead, not that he created a false

document. This mischaracterizes the allegations.

     The indictment alleges that Zea, a co-conspirator, “purchased

prepaid    debit    cards    .     .   .     for   use   in   ordering   harassing

deliveries,” Dkt. 33 at 16f, and that “one or more members of the

                                           [14]
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conspiracy ordered pizza to be delivered to the Victim’s home at

4:30 a.m., for payment upon delivery.” Id. at 16ll. As to the

falsification, it alleges:

      On or about August 21, 2019, after learning that the NPD
      was investigating the use of a prepaid debit card to
      purchase pizzas for delivery to the Victims, BAUGH and
      Popp directed Stockwell to prepare a list of eBay
      “Persons of Interest” in the San Francisco Bay Area that
      could be used (as part of Gilbert’s “dossier”) to deflect
      attention from Zea.

Id. at 16eee. The document allegedly did not contain the actual

persons of interest. The creation of a document with a material

omission is a falsification within the meaning of § 1519. See

United   States   v.    Singh,     979     F.3d    697,     716   (9th   Cir.   2020)

(collecting cases in which courts                 of appeals assumed that a

material omission of fact with the requisite intent satisfies

§ 1519). The allegation is sufficient to state an offense and

apprise Baugh of the charged conduct.

    III. Harville’s Motion to Dismiss4

      As to his witness tampering charge, Harville argues that the

indictment    “fails    to    state      the    purported    statements      Harville

made,”   Dkt.   117    at    13,   but    the     indictment      outlines   several

statements. See Dkt. 33 at ¶ 16iii (“On or about August 23, 2019,

HARVILLE falsely told eBay investigators that he had traveled to




4 To the extent Harville moves to dismiss on the same grounds raised by Baugh,
the motion is denied.

                                         [15]
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Boston to attend a conference, he had not been in Natick, and he

had not had any interaction with the Victims or the NPD.”); id. at

¶ 16kkk (“On or about August 26, 2019, HARVILLE falsely told eBay

investigators that he didn’t know whether Zea had gone to Natick

and that he had not worked on a matter involving the victims.”);

id. at ¶ 16mmm (“On or about August 27, 2019, HARVILLE falsely

told eBay investigators that he had attended a conference in Boston

with    Zea.”).        The    indictment         contains     sufficient     factual

allegations to apprise Harville of the misleading conduct he is

charged with.

       As   to   the   charge       of   destruction     of   documents,   Harville

challenges       his   §     1519    count   as    not   meeting   the     statutory

jurisdictional requirement that he had an intent to impede “the

investigation of . . . any matter within the jurisdiction of . . .

the United States.” The indictment sufficiently alleges an intent

to impede investigation of a matter within the jurisdiction of the

United States, that is “the conspiracy charged in Count One of

[the] Indictment.” Dkt. 33 at ¶ 34.

       Harville also argues that the indictment is insufficient

because it does not set out the specific contents and substantive

text of the cell phone that related to a matter within the

jurisdiction of the federal government. The indictment identifies

the destroyed records as data “related to his trip to Natick,”

Dkt. 33 at ¶ 16qqq, and data that “evidenced the conspiracy”

                                          [16]
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charged in Count 1, “including WhatsApp messages,” Id. at ¶ 16lll.

This is sufficient. See United States v. Moyer, 674 F.3d 192, 203

(3d Cir. 2012) (“Although the government did not identify every

omission or inclusion that rendered false the documents identified

in the indictment, and thus did not, at the pre-trial stage, weave

the information at its command into the warp of a fully integrated

trial theory for the benefit of the defendant, the government was

not required to do so.”) (cleaned up). The indictment “sketches

the factual predicate of the offense;” more specificity is not

required to apprise the Defendant of the charged conduct. See

United States v. Troy, 618 F.3d 27, 35 (1st Cir. 2010).

                                   ORDER

      For the reasons stated above, the Court DENIES Defendants’

motions to dismiss their indictments (Dkt. 114 and 116) for lack

of   specificity   and   failure   to   state   an   offense   as   to   the

obstruction counts.



SO ORDERED.

                                   /s/ PATTI B. SARIS_______
                                   Hon. Patti B. Saris
                                   United States District Judge




                                   [17]
